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                I N T H E U N I T E D S T A TE S D I S T R I C T C O U R T F O R
                       THE WESTERN DISTRICT OF TEXAS
                               S A N A NT O N I O D I V I S I O N

    H O L C OM B E , et. al,                           N O . 5 : 1 8 - C V - 0 05 55 - X R
           Plaintiffs                                      (consolidated cases)

    vs.

    U N I T E D S T A TE S O F
    AMERICA,
            Defendant



           PLAINTIFFS’ MOTION FOR PARTIAL SUMMARY
                          JUDGMENT

          Since 1987, mandatory policy has required the Air Force to collect and sub-

mit fingerprints and criminal history to the FBI. 1 And since 1987, commanders

have had a supervisory responsibility to ensure that their agents follow this

policy. 2 Yet the Air Force and Department of Defense (DoD) failed to meet

their obligations to collect, maintain, and submit Devin Kelley’s fingerprints

and final disposition to the FBI. 3 In fact, due to the Government’s negligence,

at least 7,300 criminals were not indexed with the FBI. 4 Plaintiffs ask this

Court to grant partial summary judgment because the evidence overwhelm-

ingly shows that the United States:

             1. undertook responsibilities that it failed to meet;
             2. failed to supervise the agents with those responsibilities; and
             3. failed to train those agents.

1     Exh. A, Dep. Col. Poorman, at 179:20–23 (AFOSI 30(b)(6) Rep.) (referencing
      AFOSI Regulation 124–102, Exh. U–3, at 28–37 (USA25369–78)).
2     Id. at 179:24–180:5.
3     Dkt. No. 149 (stipulations).
4     Exh. U–19, at 12–17 (USA24749–54).


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                                 STANDARD

    “The court shall grant summary judgment if the movant shows that there

is no genuine dispute as to any material fact and the movant is entitled to

judgment as a matter of law.” Fed. R. Civ. P. 56(a). “Where, as here, the mo-

vant is seeking summary judgment on a claim as to which it bears the burden

of proof, it must lay out the elements of the claim, cite the facts which it be-

lieves satisfies these elements, and demonstrate why the record is so one-sided

as to rule out the prospect of a finding in favor of the non-movant on the

claim.” Hotel 71 Mezz Lender LLC v. Nat’l Retirement Fund, 778 F.3d 593, 601
(7th Cir. 2015).

    In Texas, it is well established that “the term ‘negligence’ means the doing

of that which a person of ordinary prudence would not have done under the

same or similar circumstances, or the failure to do that which a person of ordi-

nary prudence would have done under the same or similar circumstances.”

Great Atl. & Pac. Tea Co. v. Evans, 175 S.W.2d 249, 250–41 (Tex. 1943).

              STATEMENT OF UNDISPUTED FACTS

    The following facts are not in dispute:

      1.    On June 9, 2011, the Air Force collected, but did not submit
            Devin Kelley’s fingerprints. Dkt. No. 149 ¶ 1 (stipulations).
      2.    Air Force agents told the Inspector General that they believed
            there was probable cause to believe Kelley committed the assault
            on his stepson on June 9, 2011. E.g., Dkt. No. 113, at 29–30 ¶ 3.7
            (U.S. Answer).
      3.    On Feb. 17, 2012, the Security Forces conducted a subject inter-
            view of Kelley, but did not collect or submit fingerprints. Dkt. No.
            149 ¶ 2.
      4.    On June 8, 2012 and Nov. 7, 2012, the Air Force Special Investi-
            gators and/or Security Forces were required to collect and submit
            fingerprints but failed to do so. Id. ¶ 3–4.




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      5.    On Nov. 7, 2012, the Air Force and the DoD were required to sub-
            mit Kelley’s final disposition to the FBI but did not do so. Id. ¶ 5.
      6.    On Dec. 14, 2012, the Air Force was required to submit finger-
            prints and final dispositions to the FBI but did not do so. Id. ¶ 6.
      7.    Between June 29, 2011 and Oct. 5, 2012, the Unit leadership per-
            formed at least 15 monthly reviews. They did not note Kelley’s
            fingerprints were unsubmitted nor took corrective action during
            this time. Id. ¶ 7.
      8.    Between Kelley’s conviction and the Sutherland Springs shooting,
            neither the Air Force Special Investigators nor the Security
            Forces submitted Kelley’s criminal history to the FBI and, conse-
            quently, Kelley’s criminal history was not in the FBI’s NICS’s
            background search system at any time before Nov. 5, 2017.
            Id. ¶ 8–9.
      9.    Between Dec. 22, 2014 and Oct. 18, 2017, Kelley purchased four
            guns from federally licensed firearms dealers after a NICS back-
            ground check response provided that the sale could proceed. E.g.,
            Dkt. No. 113, at 53–54, ¶¶ 3.39–3.42 (U.S. Answer).
      10.   Every firearm in Kelley’s possession in the Sutherland Springs
            shooting was purchased through a federal firearms licensee and
            was approved for sale by the FBI. Dep. Ranger Snyder, at 223:20–
            24 (Texas Ranger’s 30(b)(6) Rep.); Exh. U–7, at 4 (USA12797)
            (ATF Report of Investigation).
      11.   Admissions made by Government Rule 30(b)(6) Witnesses. See
            Appendix 2, List of Government Witnesses.

                    NEGLIGENT UNDERTAKING

    In its order denying the Government’s motion to dismiss, this Court ex-

plained the elements of a negligent undertaking cause of action. First, the Gov-

ernment must undertake services necessary for the protection of the American

public but fail to exercise reasonable care in that undertaking. Dkt. No. 59, at

35. Second, the Government’s failure to exercise reasonable care must have in-

creased the risk of harm to the public. Id. And third, physical harm must have

resulted from the Government’s failure to exercise reasonable care. Id.; see also

Restatement (Second) of Torts § 323 (1965).




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1. The Air Force failed to exercise reasonable care in collecting
   and submitting Devin Kelley’s criminal history.

    The Air Force’s negligent undertaking looks like this: First, the Govern-

ment issued regulations requiring the collection and submission of fingerprints

and final dispositions of felons and domestic violence perpetrators to the FBI.

Second, it issued supporting regulations—such as requiring documentation

and retention of case files—to catch failures to submit criminal history. And

third, after investigations by the Inspector General, it agreed to correct its fail-

ures to collect and submit criminal history. Each of these efforts should have

ensured that Devin Kelley’s fingerprints and criminal history were in the FBI’s

background check system. 5 But the Government failed to exercise reasonable

care in performing its obligations, which prevented that result. This increased

the risk of harm to the public and resulted in actual physical harm.

    1.1. Direct employee negligence

    “Deniable offenses” are offenses that will result in the denial of an attempt

to purchase a firearm. Government representatives almost universally agree

that federal agencies should collect and submit deniable offenses to the FBI in

a timely fashion. 6 In Devin Kelley’s case, his convictions could be punishable




5   The information sent to the FBI gets entered into one of three databases (the “tri-
    ple-I,” the NCIC, and the NICS Indices), which the FBI checks before every feder-
    ally licensed firearms purchase. Exh. C, Dep. Del Greco, at 57:11–15 (FBI 30(b)(6)
    Rep.). A felony conviction results in an instant denial. Id. at 81:9–13.
6   Id. at 38:17–20, 39:9–13; Exh. D, Dep. Col. Tullos, at 101:6–13; Exh. E, Dep. Ver-
    dego, at 51:8–17 (DoD 30(b)(6) Rep.); Exh. A, Dep. Col. Poorman, at 170:13–16,
    175:18–21 (AFOSI 30(b)(6) Rep.). See also Exh. U–6, DoD Instruction 5505.11, at
    16–28 (USA1806–18); Exh. U–2, AFOSI Manual 71-121, at 1 (USA418), 10– 12
    (USA491–93).




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by more than a year in prison and are crimes of domestic violence. 7 Conse-

quently, they were reportable under Air Force and DoD regulations. 8

     The Air Force’s obligation comes from DoD Regulations and Air Force reg-

ulations. In 1998, DoD issued Instruction 5505.11. 9 The Instruction applies to

all “organizational entities within the [DoD].” 10 And it requires all DoD law en-

forcement organizations to submit fingerprints after they decide—in coordina-

tion with the Staff Judge Advocate—that probable cause exists for the commis-

sion of an offense. 11 But if Agents make a probable cause determination with-

out a Judge Advocate, it’s mandatory for them to report. 12 And the Instruction
requires all DoD law enforcement organizations to submit convictions within

15 days of the final disposition. 13

     Mandatory Air Force regulations are the second source of these obligations

to report. Like DoD, the Air Force required units to collect, maintain, and sub-

mit fingerprints and final dispositions to the FBI. 14 Specifically, agents must

maintain two copies of the fingerprint cards and final dispositions in the case




7    Exh. D, Dep. Col. Tullos, at 121:8–16, 178:10–15, 191:18–192:2; Exh. U–17, at 3–4
     (USA12947–48) (Kelly conviction report).
8    In fact, all of the crimes listed in Attachment 8—the list of crimes that must be re-
     ported to the FBI by the Air Force—are those crimes in which an individual may
     be punished for more than a year. Exh. A, Dep. Col. Poorman, at 173:1–5. Stated
     another way, the Air Force only submits deniable convictions under Attachment 8.
     Id. at 173:18–21.
9    See Exh. U–6, at 1–15 (USA1–15); 16–28 (USA1806–1818).
10   Id. at 17 ¶ 2(a) (USA1807).
11   Id. at 25 ¶ 1(b)(1), (4)(a) (USA1815); Exh. F, Dep. Col. Owen, at 81:7–10 (AF SJA
     30(b)(6) Rep.).
12   Exh. D, Dep. Col. Tullos, at 120:13–22 (Holloman Staff Judge Advocate).
13   Exh. U–6, at 25 ¶ 1(b)(3) (USA1815).
14   Exh. U–2, AFOSI Manual 71-121, at 10 ¶ 5.14 (USA491).




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file. 15 At the time of the Kelley investigation, Holloman used hardcopy finger-

print cards and disposition reports. 16 As a result, regulations required agents

to document the submission in the electronic file. 17 And like DoD, agents

should submit the final disposition to the FBI (and document the submission)

within 15 days after the SJA notifies them of the conviction. 18 Finally, confine-

ment facility agents also should collect and submit fingerprints. 19

     Based on these requirements, there’s universal agreement—from the top

down—that the Air Force did not perform its obligations here. For example,

Air Force Sec. Wilson testified to Congress that the Air Force failed to submit

criminal history. 20 And the Government stipulated that on at least four sepa-
rate occasions, the Air Force was required to collect and submit Kelley’s finger-

prints or final disposition to the FBI but failed to do so. 21

     As of at least June 2011, the Government believed it had probable cause

that Devin Kelley committed a felony crime of domestic violence. 22 That’s

when they got the report that Devin Kelley was abusing his stepson. 23 As a re-




15   Id. at ¶ 5.14.1.2.
16   Exh. G, Dep. Agent Mills, at 25:5–10.
17   Exh. A, Dep. Col. Poorman, at 342:9–15, 343:20–25 (AFOSI 30(b)(6) Rep.); Exh. U–
     2, AFOSI Manual 71-121, at 12 ¶ 5.13.2.2 (USA493) (requirement to document the
     submission of the final disposition form).
18   Exh. U–2, AFOSI Manual 71-121, at 12 ¶ 5.13.2.2 (USA493).
19   Exh. U–3, AF Instruction 31-205, at 18–20 (USA5488–90); see also Exh. H, Dep.
     Col. Ford, at 213:22–214:8 (Air Force 30(b)(6) representative establishing this as a
     mandatory instruction).
20   Exh. U–9, at 1 (USA22319).
21   Dkt. No. 149 ¶ 3–6 (stipulations); Exh. A, Dep. Col. Poorman, at 47:18–21 (AF
     30(b)(6) Rep.).
22   Exh. I, Dep. Officer Veltri, at 115:1–4.
23   Exh. U–17, at 15 (USA13411).




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sult, on June 9, 2011, the Air Force Office of Special Investigations interro-

gated Devin Kelley. 24 Then they collected two copies of his fingerprints. 25 One

copy should have remained in the file, while the other copy should have been

sent to the FBI. 26 But both copies remained in the file.

     After June 2011, the Air Force also had a continuing obligation to correct

its failure to report. 27 Put another way, if an agent does not follow the regula-

tions, that does not let the Air Force off the hook. 28 Yet, as detailed in the In-

spector General’s report, 29 the Air Force Special Investigators, Security Forces,

and Corrections facilities continued to have—and miss—multiple opportunities

to collect and submit Kelley’s criminal history to the FBI. For example, follow-

ing the June 2011 subject interrogation, the Air Force special agents swore out

a probable cause affidavit based on medical evidence that Kelley’s child was

physically abused. 30 Even after Kelley provided the Air Force Security Forces
and Special Investigators a videotaped confession, the Air Force neglected to

submit his criminal history data to the FBI. 31 Kelley’s conviction and confine-

ment came and went, without submission of his criminal history to the FBI. 32




24   Id. at 16–19 (USA13418–21).
25   Id. at 5–8 (USA12953–56).
26   Exh. U–2, AFOSI Manual 71-121, at 10 ¶ 5.14.1.2 (USA491).
27   Exh. A, Dep. Col. Poorman, at 177:16–19 (AFOSI 30(b)(6) Rep.).
28   Id. at 177:6–10.
29   Exhs. U–11, U–12, U–13, U–14, U–15 (USA5250–387).
30   Exh. U–17, at 26–27 (USA13675–76).
31   Exh. U–5 (USA14813–23) (transcript of confession); Exh. U–17, at 20 (USA13431)
     (receipt of confession).
32   Dkt. No. 149, at ¶ 4–6 (stipulations).




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     1.2. Negligent documentation & retention of evidence

     Air Force regulations require agents to accurately input their investigative

activities in their electronic case file specifically because the “information en-

tered affects output and outcome … because of the link to other databases.” 33

Those linked-to databases include the National Crime Information Center

(NCIC) and the Defense Incident Based Reporting System (DIBRS). 34 The

NCIC is one of the three databases searched by the FBI’s NICS firearms

check. 35 And DIBRS is supposed to be a central repository of Brady reportable

information that the DoD had an obligation to forward to the FBI. 36

     This case presents multiple examples of the failure to document. For exam-

ple, the Air Force (and DoD) required submission of fingerprints upon determi-

nation of probable cause in coordination with the Staff Judge Advocates’ of-

fice. 37 Before submitting fingerprints, special agents must coordinate with the

Staff Judge Advocate and document that coordination. 38 Yet, the “Internal

Data Pages” contain no reference to coordination on probable cause. 39




33   Exh. U–2, AFOSI Manual 71-121, at 13 (USA451).
34   Id.
35   Exh. C, Dep. Del Greco, at 57:11–15 (FBI 30(b)(6) Rep.).
36   See infra, Section 2, at pg. 12 (on the DoD and AF negligent operation of the cen-
     tralized Brady database). In fact, Air Force headquarters also uses the case file to
     “collect and report [DIBRS] requirements.” Exh. U–3, AFOSI Handbook 71-105,
     at 1 (USA1343), 3 (USA1349), 38–41 (USA12318, USA12322, USA12323,
     USA12334).
37   Exh. U–2, AFOSI Manual 71-121, at 11 ¶ 5.14.2.1 (USA492).
38   Id.; Exh. D, Dep. Col. Tullos, at 84:17–22 (Staff Judge Advocate at Holloman);
     Exh. F, Dep. Col. Owen, at 49:17–50:6, 53:14–54:8 (Air Force 30(b)(6) Rep. on
     probable cause).
39   Exh. U–16 (USA13569–79) (data pages for Kelley). See also Exh. I, Dep. Officer
     Veltri, at 36:12–18, 38:3–23 (noting that documentation needs to occur in internal
     data pages); Exh. U–2, AFOSI Manual 71-121, at 11 ¶ 5.14.1.2 (fingerprints),
     12 ¶ 5.14.2.2 (final disposition) (USA492–93).




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     The Air Force requires their agents to consult with Judge Advocates on

probable cause because Judge Advocates are lawyers and have more training

on probable cause. 40 Judge Advocates can serve as a safety net, ensuring the

identification of probable cause necessary for submission, where an agent

might miss it. 41 This documentation allows supervisory reviews to verify, from

viewing the electronic file, whether criminal history submission occurred. 42

     Next, on June 8, 2012—after Kelley confessed to the crimes on video—

agents interviewed him. During that interrogation, Agent Clinton Mills certi-

fied that he fingerprinted Kelley. 43 Yet Kelley’s file contains no fingerprints
from that date. 44 Not only that, Agent Mills has no recollection of coordinating

with the Staff Judge Advocate. 45 Agents are responsible for maintaining their

case files and ensuring that fingerprint cards do not get lost or misfiled. 46 But

notably, Holloman was Agent Mills’ first duty station following training, mean-

ing he was a probationary agent. 47

     1.3. Agreements to correct negligence

     The Air Force then negligently failed to correct its mistakes. Regarding

Kelley, the Air Force had a continuing obligation to correct its failure to re-

port. 48 And more broadly, the Air Force knew of a systemic problem in failing




40   Exh. F, Dep. Col. Owen, at 56:5–17 (AF 30(b)(6) Rep. on SJA probable cause).
41   Id. at 57:19–58:4.
42   Exh. A, Dep. Col. Poorman, at 123:4–124:2.
43   Exh. U–17, at 22–23 (USA13452–53); see also Exh. G, Dep. Agent Mills, at 55:15–
     18.
44   Exh. G, Dep. Agent Mills, at 56:6–10.
45   Id. at 56:18–21.
46   Id. at 58:2–9.
47   Id. at 18:10–19:8; see also infra, Failure to Train, at 33.
48   Exh. A, Dep. Col. Poorman, at 177:16–19 (AFOSI 30(b)(6) Rep.).




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to report fingerprints and final dispositions, and had agreed to remedy the

problem, but never did.

     Starting in 1997, the Inspector General for the DoD had identified defi-

ciencies in the Government’s collection and submission of criminal history and

fingerprints to the FBI. 49 In response to that report, the Air Force agreed to

implement procedures to address the problems. 50

     In 2015, the IG conducted another investigation into the criminal history

reporting requirements. 51 After reviewing the Air Force’s problems, the IG rec-

ommended that the Air Force take prompt action to correct missing finger-

prints and final disposition reports to the FBI—and the Air Force again agreed

to do so. 52 The IG also recommended that the Air Force correct its reporting for
all future arrestees and convicted offenders; and the Air Force agreed to do

that too. 53 Notably, the time frame that the IG examined was June 1, 2010, to

October 31, 2012—during the Kelley investigation and one week before his

conviction. 54 As the Air Force Security Forces representative testified, the “bot-

tom line of the report [was] telling the Air Force [it] still had a problem with

reporting criminal data.” 55 And the intent behind the report “was for the Air

Force to fix this problem. That’s it.” 56

     The email trail following the IG Report confirms these agreements: “I need

region [Commanders] involved on every case … We will also have a lot of

clean-up work to do in the NCIC to document action in the system. More to

49   Exh. U–18, at 11–14 (USA11166, 68–70).
50   Id. at 15–16 (USA11183, USA11188).
51   Id. at 17 (USA11697); Exh. H, Dep. Col. Ford, at 272:11–20 (AF 30(b)(6) Rep.).
52   Exh. U–18, at 20 (USA11713).
53   Id. at 20–21 (USA11713–14); Exh. A, Dep. Col. Poorman, at 273:11–16.
54   Exh. U–18, at 19 (USA11699).
55   Exh. H, Dep. Col. Ford, at 312:6–19.
56   Id. at 312:20–313:7.




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come … but this issue is not going away.” 57 Brigadier General Givens told

all Region commanders: “In case it is not clear, [the Commander] expects that

you are engaged on this issue ... and you are overseeing the process to ensure

people are being appropriately indexed. My sense is if you are presently doing

anything less than 100% review in this particular area (NCIC indexing) you

are falling short.” 58 Air Force leadership predicted the issue: “I would antici-

pate we need to be executing a plan/fixes sooner rather than later.” 59

This was two years before the Sutherland Springs shooting.
     Not only did the Air Force fall short in indexing Kelley’s missing submis-

sions, but the Air Force did not even correct the specific cases identified by the

DoD Inspector General. 60 Fast forward to 2017, when the Inspector General
testified before Congress: “We made the recommendations to the services and

it’s quite clear that the services did not take appropriate action to follow up on

those recommendations.” 61 In sum, the Air Force had a specific obligation to

correct the reporting failures in Kelley’s case, and a broader mandate to fix its

systemic problems—and it did neither.

2. The Department of Defense and the Air Force both negligently
   undertook the centralization of criminal history.

     Separate from the regulations requiring direct submission, the DoD en-

tered into a Memorandum of Understanding (i.e., an agreement) requiring the


57   Exh. U–10, at 2–3 (USA26279–80) (emphasis added).
58   Id.
59   Id. at 1 (USA26278) (Dec. 16, 2015) (emphasis added).
60   Exh. A, Dep. Col. Poorman, at 274:19–275:11.
61   Testimony of Glenn Fine, Department of Defense Inspector General, at ~01:56
     (Dec 6, 2017), available at https://tinyurl.com/congresstestimony; see also Exh. U–
     18, at 2–10 (USA5425–33) (“In conclusion, the DoD OIG has repeatedly found defi-
     ciencies with the Military Services submission of required fingerprints, final dispo-
     sitions reports, and other criminal history to the FBI for inclusion in its data-
     bases.”).


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centralized collection of Brady Bill criminal history for submission to the FBI.

It agreed to do so using the Defense Incident Based Reporting System (DIBRS)

database. Essentially, the Air Force should submit Brady offenses to DIBRS,

and the DoD, in turn, should submit them from DIBRS to the FBI. Negli-

gently, the Air Force failed to submit to DIBRS and the DoD, in turn, failed to

collect and submit to the FBI.

     2.1. Department of Defense Negligence

     First, the DoD undertook centralized collection of criminal history data for
reporting to the NICS background search system. 62 In 1998, the DoD entered

into a Memorandum of Understanding with the FBI to submit Brady Bill of-

fenses within its DIBRS to the NICS Index. 63 Both agencies then reaffirmed

that Memorandum in 2007. 64 In the 2007 contract, the DoD agreed to “provide

data from the Defense Incident Based Reporting System (DIBRS) [and] should

the DoD determine it possesses relevant records from sources other than the

DIBRS, the DoD also agrees to provide those records expeditiously.” 65 The DoD

also agreed to “correct any record determined to be invalid or incorrect.” 66 Im-

portantly, the Government’s representative on DIBRS testified that the 2007

Memorandum between the DoD and the FBI was binding on the DoD and is




62   Exh. E, Dep. Verdego, at 116:20–117:2 (DoD 30(b)(6) Rep. on DIBRS).
63   Exh. U–6, at 38–44 (USA4091-97). Exh. E, Dep. Verdego, at 78:13–20, 90:14–19
     (Government representative testifying that the agencies entered into this agree-
     ment so that DoD could supply FBI with criminal history for making determina-
     tions under the Brady Act.).
64   Exh. U–6, at 45–52 (USA4115–22).
65   Id. at 47 (USA4117).
66   Id. at 49 (USA4119).




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still effective, even today. 67 Both the DoD’s representative and the FBI’s repre-

sentative confirmed this undertaking. 68

     In furtherance of this agreement, the DoD issued regulations undertaking

the responsibility to provide DIBRS criminal history to the FBI. 69 For exam-

ple, the DoD issued Manual 7730.47, a mandatory policy that applies to all of

DoD up to 2014, when it was re-issued. 70 The DoD issued this manual—specifi-

cally Volume 1 of the manual—to comply with the crime reporting require-

ments of the Brady Bill. 71 But even after all that, between 2011 and 2017 the

DoD was not providing DIBRS criminal history data to the FBI’s NICS sys-

tem. 72
     Similarly, the DoD also undertook the responsibility to create a central

registry of domestic violence incidents in the Military Branches. 73 But when

asked about the ownership of this database, the DoD’s representative testified

that it did not exist. 74 The Government claimed that this was an “unfunded

mandate by Congress”—but when pressed, it had to admit that Congress did




67   Exh. E, Dep. Verdego, at 77:19–79:3, 17:15–22 (establishing that Ms. Verdego has
     full authority to speak as a Government representative).
68   Id. at 78:13–20; 90:14–19 (DoD); Exh. C, Dep. Del Greco, at 127:7–130:19 (FBI).
69   E.g., Exh. E, Dep. Verdego, at 133:9–134:17.
70   Id. at 100:4–19; 106:17–20 (the manuals are still required policy for DoD and its
     agencies to follow); Exh. U–6, at 29 (USA4082).
71   Exh. U–6, DoD Directive 7730.47, at 30 (USA4083), DoD Manual Vol. 1, at 54
     (USA4367); Exh. F, Dep. Col. Owen, at 86:14–22 (SJA 30(b)(6) Rep. testifying to
     the same). Indeed, reportable offenses under the Brady Bill need to be maintained
     in the DIBRS database for 99 years from the entry. Exh. U–6, DoD Manual
     7730.47-M-V1, at 58 (USA4435).
72   Exh. E, Dep. Verdego (DoD 30(b)(6) Rep.), at 88:15–17; 91:11–15 (DoD not provid-
     ing data to FBI’s Triple I database); 91:18–22 (DoD not providing data to FBI’s
     NCIC database).
73   Id. at 121:17–122:10.
74   Id. at 122:11–12.




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not issue those regulations. 75 Instead, the DoD undertook this mandatory obli-

gation but, between 2010 and 2018, did not fulfill its responsibility. 76

     2.2. Air Force Negligence

     The DoD was not the only weak link in this chain: The Air Force com-

pounded the DoD’s negligence by failing to submit criminal history infor-

mation to the DoD for inclusion in the DIBRS database.

     Here, the DoD spelled out the Air Force’s responsibilities in mandatory

regulations. Chiefly, the DoD Manual’s general procedures establish that

“DIBRS shall be used to centralize the collection of information reportable by

the DoD Components” under the Brady Bill. 77 It requires that the secretaries

of the Military Departments and the heads of other DoD components should

ensure compliance with policies and procedures to implement DIBRS reporting

and to train personnel to that end. 78 In the words of DoD regulations, “DIBRS

is designed to meet the data repository needs involved in reporting on overall

law enforcement activities … as mandated by Congress, including … [c]ase dis-

positions as mandated by the [Brady Bill].” 79 Specifically, military police, the

Air Force Office of Special Investigations, the Staff Judge Advocates, and Air




75   Id. at 123:2–8.
76   Id. at 123:11–124:4.
77   Exh. U–6, DoD Manual 7730.47 Vol. 1, at 55–56 (USA4368–69); see also Exh. E,
     Dep. Verdego, at 100:13–16 (establishing 7730.47 as mandatory policy applicable
     to all of DoD between 1996 and 2014).
78   Exh. E, Dep. Verdego, at 108:6–20; Exh. U–6, DoD Directive 7730.47, at 32
     (USA4085).
79   Exh. U–6, DoD Directive 7730.47M-V1, at 59–60 (USA4931, USA4939); see also
     Exh. E, Dep. Verdego, at 95:22–96:4 (DoD 30(b)(6) Rep.).




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Force corrections have reporting obligations. 80 Even Air Force confinement fa-

cilities were required to submit DIBRS data on a monthly basis. 81

     The Government’s negligence implicates supervisory responsibilities be-

cause the secretaries of the military departments and heads of the components

have an obligation to make sure the employees are complying with DoD

7730.47 and establish procedures to implement DIBRS reporting. 82 Because of

the failure to follow this regulation, the DoD representative testified that these

regulations are not accomplishing their stated purpose. 83
     The most egregious example of this failure is the Staff Judge Advocates of-

fice. They had a responsibility to submit final dispositions (i.e., Kelley’s felony

and domestic violence convictions) to DIBRS. Under DoD Manual 7730.47 Vol.

1, at USA4373, an area “involved in the DIBRS that falls in the judge advocate

area of responsibility are … the results of trial reporting … Judicial function

officials shall report the results of the trial and identifying information of of-

fenders qualifying pursuant to the [Brady Bill].” The Judge Advocates’ office

“shall forward data … on a monthly basis.” 84 The Government’s representative
for the Staff Judge Advocates testified that 7730.47 is a mandatory instruction

that requires the SJA’s office to report the results of trial to DIBRS. 85 Though

they had this responsibility, no one from the Judge Advocate’s office submitted

information to DIBRS. 86 In fact, the Air Force never even gave the Holloman


80   Exh. U–6, DoD Directive 7730.47M-V1, 59–61 ¶¶ 1(a)(2)(a), (b), (d), and (e)
     (USA4931, USA4939–40).
81   Id. at 57 ¶ 5 (USA4373).
82   Exh. E, Dep. Verdego, at 108:13–20.
83   Id. at 97:15–19.
84   Id.; see also Exh. F, Dep. Col. Owen, at 86:14–22 (SJA 30(b)(6) Rep.)
85   Exh. F, Dep. Col. Owen, at 88:2–19; see also Exh. D, Dep. Col. Tullos, at 193:14–21
     (Holloman SJA testifies to the same).
86   Exh. F, Dep. Col. Owen, at 99:16–100:1 (SJA 30(b)(6) Rep.).




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SJA office access to submit to DIBRS. 87 As a result, Kelley’s felony and domes-

tic violence convictions—which would have prevented him from purchasing

firearms—were never submitted to DIBRS. 88 This compounded on the DoD’s

failure to submit DIBRS data to the FBI. 89

3. The Government’s failure to exercise reasonable care
   foreseeably increased the risk of harm.

     Under Texas law, “foreseeability does not necessarily equate to predictabil-

ity.” Univ. of Tex. M.D. Anderson Cancer Ctr. v. McKenzie, 578 S.W.3d 506, 519

(Tex. 2019). Foreseeability does not require that a person anticipate the “pre-

cise manner in which injury will occur once he has created a dangerous situa-

tion through negligence. It requires only that the general danger, not the exact

sequence of events that produce the harm, be foreseeable.” Id. Here, the Gov-

ernment’s failure to exercise reasonable care generally increased the risk of

harm to the public. And the Government should have “reasonably anticipated

the dangers” or risk of harm that the Government created by negligently fail-

ing to report Kelley’s background into the system. Id.

     3.1. Increased risk of harm to the public

     First, the Government’s conduct generally increased the risk of harm to

the public from gun violence. In 2008, Congressional amended findings noted

87   Exh. D, Dep. Col. Tullos, at 194:22–195:16.
88   Exh. E, Dep. Verdego, at 135:7–139:3, Exhibit 11 & 12 (showing that the only data
     in DIBRS concerning Kelley was the May 25, 2011 credible report of criminal inci-
     dent). Someone from the Air Force reported to DIBRS that, on May 25, 2011, law
     enforcement officials responded to a credible report of a criminal incident by Devin
     Kelley. Exh. E, Dep. Verdego, at 145:22–146:15. While they made this report on
     October 21, 2013, eleven months after his conviction, they did not submit the con-
     viction itself. Id. at 144:7–9; Exh. U–17, at 3 (USA12947) (Kelley conviction re-
     port).
89   Exh. E, Dep. Verdego, at 97:15–19.




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that mass shootings like the Virginia Tech shooting necessitated improved in-

formation sharing between federal agencies. 90 Plaintiffs have detailed, in their

Amended Complaints, multiple examples from the legislative history showing

that Congress passed these laws to prevent gun violence generally, including

mass shootings. 91

     This corresponds with Government representative and witness testimony,

which almost universally agrees that the NCIS background search system de-

creases the risk of shooting deaths by keeping guns out of the hands of fel-

ons. 92
     But for the NCIS to work, federal agencies must accurately collect and sub-

mit criminal history data. 93 The more information the FBI has on dangerous

felons, the better able they are to prevent individuals who shouldn’t have fire-

arms from getting those firearms. 94 Thus, when Government agencies fail to


90   34 U.S.C. § 40902.
91   E.g., Pl. Am. Complaint, Dkt. No. 64, at 5–8 ¶ 2.5–2.9 (discussing the legislative
     history behind the Brady Bill and similar laws, all acknowledging the increased
     risk of gun violence).
92   See Exh. C, Dep. Del Greco, at 36:7–14 (FBI 30(b)(6) Rep.); Exh. D, Dep. Col.
     Tullos, 112:16–21, 114:1–19 (SJA, Holloman AFB); Exh. A, Dep. Col. Poorman, at
     137:16–19 (AFOSI 30(b)(6) Rep.); Exh. H, Dep. Col. Ford, at 46:24–47:16 (Air
     Force 30(b)(6) Rep.); Exh. E, Dep. Verdego, at 67:7–11 (DoD 30(b)(6) Rep.); Exh. J,
     Dep. Col. Hudson, at 223:17–224:3 (Region 2 Commander); Exh. K, Dep. Col.
     Bearden, at 117:7–14 (Commander of the 49th Logistics Readiness Squadron);
     Exh. L, Dep. Maj. Nathan McLeod-Hughes, at 124:13–17 (Director of Operations
     for the 49th Logistics Readiness Squadron); Exh. M, Dep. Agent Holz, at 37:11–20,
     165:6–22 (AF Special Agent); Exh. N, Dep. Agent Hoy, at 34:4–18 (Special Agent
     in Charge); Exh. O, Dep. Agent Bankhead, at 118:8–19 (Superintendent).
93   Exh. C, Dep. Del Greco, at 37:7–10, 37:22–38:4 (FBI 30(b)(6) Rep.); Exh. F, Dep.
     Col. Owen, at 59:20–60:6 (SJA 30(b)(6) Rep.); Exh. E, Dep. Verdego, at 65:1–9
     (DoD 30(b)(6) Rep.); Exh. A, Dep. Col. Poorman, at 131:11–16 (AFOSI 30(b)(6)
     Rep.); Exh. U–8, at 2–3 (USA16665, USA16677).
94   Exh. C, Dep. Del Greco, at 37:11–21 (FBI 30(b)(6) Rep.); Exh. A, Dep. Col. Poor-
     man, at 131:18–24 (AFOSI 30(b)(6) Rep.); Exh. E, Dep. Verdego, at 65:1–9, 121:3–
     8 (DoD 30(b)(6) Rep.).




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share or report data on dangerous felons and child abusers, they expose the

public to an increased risk of gun violence. 95

     3.2. Foreseeability of gun violence

     Second, the evidence overwhelmingly establishes that the Government

knew or should have known the risk that Kelley posed. As this Court noted

early on, the “risk, foreseeability, and likelihood of injury are high.” Dkt. No.

59 at 36 (May 23, 2019). “With Kelley specifically, at every stage in his life—

during and after his USAF tenure—the threat of violence loomed. People like

Kelley cannot own guns and the negligent operation of the background check

system foreseeably increased the risk and likelihood of injuries like those suf-

fered by Plaintiffs.” Id. Discovery taken since the Court’s Order only reinforces

this conclusion.

     The Air Force convicted Kelley for abusing his wife and beating his child

(causing a broken clavicle and subdural hematoma). 96 His treatment of his

wife and child were determined by the Air Force Central Registry Board to

meet the criteria for child physical maltreatment and entry into the DoD cen-

tral database. 97 But the DoD negligently failed to even create the database. 98

     In the course of its investigation, the Air Force learned a lot about Kelley.

For example, Air Force agents interviewed former school classmates who re-

counted experiencing horrific sexual, physical, and verbal abuse from Kelley,


95   Exh. E, Dep. Verdejo, at 121:10–15 (DoD 30(b)(6) Rep.); Exh. M, Dep. Agent Holz,
     at 164:18–165:3; Exh. L, Dep. Maj. McLeod-Hughes, at 124:5–12; Exh. I, Dep. Of-
     ficer Veltri, at 73:7–13.
96   Exh. U–17, at 3–4 (USA12947–48); Exh. U–4, at 5–7 (USA13374–76).
97   Exh. U–4, at 8–9 (USA14698, USA14752).
98   See supra, notes 73–76 & accompanying text (discussing the mandatory regula-
     tions requiring creation of this database and the fact that it does not and has
     not ever existed).




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as minors. 99 And during his time with the Air Force, Kelley made threats

against leaders and his wife, and gave his superiors the “gut feeling that if

there was ever going to be someone who would shoot up the shop, it would be

him.” 100 Repeatedly, Kelley threatened: “If the cops show up at my door, I will

shoot them,” and “My work is so lucky I do not have a shotgun because I would

go in there and shoot everyone.” 101 Kelley’s mental health providers had noti-

fied the Air Force that he presented the “maximum risk range” for violence

and lack of control. 102
      The Air Force investigators testified about the threat Devin Kelley posed,

not just for violence, but for mass shooting violence specifically. Com-

mander Hoy testified that in 2012 “there is clearly evidence that suggests he

could do a mass shooting, and that was reported.” 103 Hoy went further, testify-
ing that if Devin Kelley were permitted to have any kind of gun it would be

foreseeable that he could commit a mass shooting. 104 Like Hoy, Commander

Randall Taylor testified that Kelley threatened a mass shooting while in the

Air Force. 105 Lyle Bankhead, the supervising investigator for Kelley’s investi-




99    E.g., Exh. U–17, at 24–25 (USA13455, USA13469) (names redacted to protect the
      identity of individuals abused as children).
100   Exh. U–19, at 11 (USA23929).
101   Exh. U–17, at 14, 21 (USA13404, USA13438).
102   Id. at 28–29 (USA13983–84) (emphasis added).
103   Exh. N, Dep. Agent Hoy, at 150:12–17
104   Id. at 152: 8–13 (emphasis added).
105   Exh. B, Dep. Agent Taylor, at 88:13–89:2.




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gation, testified that Kelley specifically threatened to commit a mass shoot-

ing. 106 And he confirmed that the Air Force discovered that Kelley was laying

the groundwork and planning for a mass shooting event. 107

      Given this history, the Holloman Air Force Base assembled a “High Risk

for Violence Response Team” to investigate Kelley. 108 The Staff Judge Advo-

cate testified that the reason they put the team together was because Kelley

was a “major threat to commit an act of violence.” 109 And in fact the team con-

cluded exactly that. 110
      Understandably, during the investigation—but before the conviction—the

Air Force confiscated the firearms that Kelley owned. 111 And they committed
Kelley to Peak Mental Institution. 112 While there, he made several statements

that, if the Air Force detained him, he would “go for their guns.” 113 And while

he was at Peak, a search of his computer revealed that he had researched the

purchase of firearms and body armor. 114 But then he escaped Peak. These facts

led the Commander of the 49th Logistics Readiness Squadron to conclude: “I

am convinced that he is dangerous and likely to harm someone if released.” 115

Commander Hughes then testified that by February 17, 2012, Kelley made


106   Exh. O, Dep. Agent Bankhead, at 87:24–88:5.
107   Id., at 106:10–22 (discussing how Kelley’s plan to obtain a gun after his hospital
      release, body armor searches, and threats to take away the guns of Security
      Forces members were all acts that somebody planning a mass shooting would do).
108   Exh. D, Dep. Col. Tullos, at 223:20–224:17, 226:17–227:1 (explaining the purpose
      of the team).
109   Id. at 227:7–14, 228:2–7.
110   Id. at 228:8–11.
111   Exh. U–4, at 4 (USA13372); see also e.g., Dkt. No. 113, at 41–42 ¶ 3.21 (U.S. Origi-
      nal Answer)
112   Exh. U–4, at 6 (USA13375).
113   Id.
114   Id.
115   Id. at 7 (USA13376).




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threats to “blow everybody’s head off” and the Air Force knew “that the evi-

dence of a threat was made for a very violent shooting.” 116

      Other Air Forces Commanders knew about the growing menace of Kelley’s

capacity for mass violence. After Kelley’s conviction and confinement, Com-

mander Robert Bearden requested that the Air Force permanently ban Kelley

from stepping foot on an Air Force base after he was discharged. Why? “Kelley

has repeatedly threatened to kill his leadership. He was openly carrying a fire-

arm on Holloman, AFB … I view this Airman as a threat to not only myself,

but my staff and other Airmen in this Squadron.” 117 In fact, Col. Bearden testi-
fied that by the end of March 2013, Air Force command knew “Devin Kelley

was a very dangerous person who was threatening to kill multiple people with

guns.” 118 Summing up the extent to which the Air Force foresaw Kelley’s com-

ing violence, Col. Bearden testified that AFOSI Detachment 225, the 49th Secu-

rity Forces at HAFB, the 49th Logistics Readiness Squadron, the Family Advo-

cacy Program for the High Risk for Violence Team at HAFB, and the 49th Wing

Judge Advocate all had knowledge of the “high risk for violence and the poten-

tial for mass violence” that Devin Kelley was capable of. 119




116   Exh. L, Dep. Maj. McLeod-Hughes, at 93:11–15; 94:9–15.
117   Exh. U–4, at 3 (USA13324). See also id. at 1–2 (USA13318–19) (“Additional evi-
      dence of Kelley’s high risk unpredictable and criminal behavior includes his his-
      tory of mental health issues, his preoccupation with weapons, his verbal declara-
      tion that he has contemplated offensive attack strategies on both Air Force person-
      nel and organizations [and] his online research of body armor and guerrilla war-
      fare tactics…”); Exh. U–17, at 31–32 (USA17621–22) (Finding of probable cause to
      court martial Kelley: “it is foreseeable that [Kelley] … will engage in serious
      criminal misconduct.”); Exh. U–4, at 10–12 (USA17614–16) (“it is foreseeable
      that [Kelley] will engage in serious criminal misconduct.”).
118   Exh. K, Dep. Col. Bearden, at 48:5–14.
119   Id. at 197:5–17.




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      And his Commanders were right. After his discharge from the Air Force

and permanent ban, Kelley contacted Air Force employees with troubling signs

of impending violence. He tried to get on base multiple times. 120 Then, around

2015, Kelley contacted his Staff Sergeant and explained his obsession with

church shootings and guns. “Regarding the church shooting in South Carolina,

Kelley told [her], ‘I wish I had the nerve to do it.’” 121 His Staff Sergeant de-

scribed Kelley as “completely obsessed with mass shootings.” 122

      All of this evidence overwhelmingly proves that Kelley posed a foreseeable

risk of gun violence.

4. Physical harm resulted from the Government’s failure to
   exercise reasonable care

      Finally, the Government’s negligence enabled Kelley to perpetrate one of

the deadliest mass shootings in American history. And the organizations that

have investigated the shooting agree. For example, the DoD’s Inspector Gen-

eral issued a report stating that if Kelley’s fingerprints had been submitted to

the FBI, he could not have acquired the firearms that he used to kill 26 people

and injure others. 123 The DoD IG further testified to Congress that the Air

Force should have sent his fingerprints and final disposition to the FBI, which

should have prevented him from purchasing a gun. 124 Similarly, the Texas

Rangers’ 30(b)(6) representative testified that Kelley was able to perpetrate

the shooting because he was able to buy those firearms. 125 In short, the only

120   Exh. U–19, at 3–4 (USA16520–21); Exh. U–4, at 13–15 (USA15641–43) (Kelley
      base access records).
121   Exh. U–19, at 10 (USA22911).
122   Id.
123   Exh. U–11, at 6 (USA5255).
124   Exh. U–18, at 3 (USA5426).
125   Exh. V, Dep. Texas Ranger Snyder, at 228:23–229:1.




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reason Kelley had the guns is because the Air Force did not tell the FBI that

he was a convicted felon. 126

      The Government has stipulated that the Air Force’s failure to submit Kel-

ley’s fingerprints and criminal history to the FBI resulted in his fingerprints

and convictions being unavailable to the National Instant Criminal Back-

ground Check System before November 5, 2017. 127 The FBI’s corporate repre-

sentative concurred with this stipulation: the FBI did not have the information

it needed for the NICS Background Search of Kelley, nor did the DoD or Air

Force correct that missing information. 128 Because Kelley’s convictions were
not in the FBI’s system due to the Government’s negligence, the Government’s

negligence facilitated Kelley’s purchase of the firearms that he used in the

Sutherland Springs shooting. 129

      The Government’s only defense is to speculate that Kelley might’ve acted

similarly, somehow, even if he had been denied the opportunity to purchase

those firearms. But the Government’s conjecture about what Kelley might’ve

done, had he been denied, does not save the Government from liability for

what actually happened. Leitch v. Hornsby, 935 S.W.2d 114, 119 (Tex. 1995)

(“Proof of causation cannot ‘turn on speculation or conjecture’”). And there is

no evidence suggesting that Kelley attempted to purchase guns from anyone

other than an FFL. 130 In fact, Kelley was thwarted in his first attempt at buy-

ing an assault rifle (at Dicks Sporting Goods) by the store’s policy on ID. 131

126   Id. at 229:24–230:7; 235:14–22; Exh. U–11, at 6 (USA5255).
127   Dkt. No. 149 ¶ 8–9 (stipulations).
128   Exh. C, Dep. Del Greco, at 130:21–131:11; Exh. A, Dep. Col. Poorman, at 46:12–18
      (Air Force corporate representative testifies fingerprints were not submitted).
129   Exh. V, Dep. Texas Ranger Snyder, at 236:3–9; see also Exh. U–7, at 4–15
      (USA12797–12808) (ATF Report on the firearms used).
130   Exh. A, Dep. Col. Poorman, at 138:24–139:3.
131   Exh. S, Dep. Danielle Smith (formerly Kelley), at 145:6–150:3.




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And after this licensed dealer denied Kelley a gun, he did not borrow a gun

from friends or family, and he did not ask someone to execute a straw pur-

chase for him. Nor did he go to a gun show. He simply went to another federal

dealer, passed the FBI check (due to the Government’s negligent failure to re-

port Kelley’s background into the system), and purchased the assault rifle. 132

      The Air Force had actually groomed Kelley to continue purchasing at

FFLs. Notably, he had purchased two firearms on base while under criminal

investigation for felony assault and crimes of domestic violence. 133 Had Air

Force employees submitted Kelley’s fingerprints before 2012—when witnesses

testified there was probable cause—he would not have been allowed to pur-

chase these firearms on base. 134 And more importantly, the FBI would have
put him on a previously-denied database for all future gun sales. 135

      To speculate that Kelley would have gotten an assault rifle by some other

illegal means ignores Kelley’s history of purchasing guns from federally li-

censed firearms dealers. Just limiting the scope to after Kelley’s conviction,

Kelley purchased guns from licensed dealers on December 22, 2014

(USA12893), June 26, 2015 (USA15371), April 7, 2016 (USA12899), and—two

weeks before the shooting—October 18, 2017 (USA12896). 136 Each of these

successful purchases conditioned Kelley to continue buying firearms at feder-

ally licensed dealers. 137 On each of these purchases, Kelley lied on his firearms

transaction form by denying his criminal history—and that’s another felony

conviction punishable by up to 10 years in prison. Had the Government taken

132   Id.
133   Exh. U–7, at 1–3 (USA12133–35).
134   Exh. I, Dep. Officer Veltri, at 115:1–4 (noting probable cause existed in 2011).
135   Exh. C, Dep. Del Greco, at 56:19–22, 57:1–5 (FBI 30(b)(6) Rep.).
136   Kelley’s gun purchases can be found at Exh. U–20.
137   Exh. V, Dep. Snyder, at 276:14–278:10 (Texas Rangers 30(b)(6) Rep.).




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reasonable care in its undertaking, Kelley not only would have been denied the

ability to purchase firearms but also would have been prosecuted for false

statements on federal forms. 138 And if not that, he would have been prosecuted

as a felon with a firearm. 139

      The evidence overwhelmingly shows that the harm caused by Kelley’s

mass shooting was a foreseeable result of the Government’s failure to exercise

reasonable care in undertaking the obligation to report Kelley’s background

data into the background-check system. The Court should therefore rule as a

matter of law that the Government was negligent on this ground.

                           FAILURE TO SUPERVISE

      Long established precedent imposes liability for supervisory negligence.

E.g., Castillo v. Gared, Inc., 1 S.W.3d 781, 786 (Tex. App.—Houston [1st Dist.]

1999, pet. denied) (“An employer has a duty to adequately hire, train, and su-

pervise employees.”). In Underwood v. United States, the Fifth Circuit ruled

that the Government could be held responsible for issuing a weapon to an un-

stable soldier who then used it to kill his wife, reasoning that the soldier was a

foreseeable tortfeasor. 356 F.2d 92, 98–99 (5th Cir. 1966). 140 In Texas, an em-

ployer can be liable for negligence if its failure to use due care in supervising

138   Exh. V, Dep. Snyder, at 273:1–10 (Texas Ranger 30(b)(6) Rep.).
139   The ATF Director testified before Congress that domestic violence cases like Kel-
      ley are a priority: “If we have information that someone has a firearm and they
      have a conviction for domestic violence, and that becomes a priority to us, because
      again, it shows that usually a close partner or loved one could be at danger and
      our whole job is to prevent that—to prevent gun violence from happening.” Testi-
      mony of ATF Director Brandon before the Senate Judiciary Committee (Dec. 6,
      2017) (at approximately 1h 52m 55s to 1h 53m 49s), available at https://ti-
      nyurl.com/congresstestimony
140   Even though the court heard the appeal from Alabama, it stated: “We think that it
      was in recognition of some such duty that the precautionary measures were
      adopted by the Air Force. We need not decide to what extent, if any, the state law




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an employee creates an unreasonable risk of harm. Clark v. PFPP Ltd. P’ship,

455 S.W.3d 283, 287 (Tex. App.—Dallas 2015, no pet.); Wrenn v. G.A.T.X. Lo-

gistics, Inc., 73 S.W.3d 489, 495–96 (Tex. App.—Fort Worth 2002, no pet.) (col-

lecting cases). The rule on adequate supervision of employees typically applies

to situations that involve physical danger or where inadequate supervision

caused harm to third persons. Garcia v. Allen, 28 S.W.3d 587, 592–93 (Tex.

App.—Corpus Christi 2000, pet. denied). And of course, there are multiple

cases from across the country that have held the Government responsible for

negligent supervision and training. E.g., Zeranti v. United States, 358 F. Supp.
3d 244, 259 (W.D.N.Y. 2019); Charles v. United States, 18 CV 883 (VB), 2019

WL 1409280, at *4 (S.D.N.Y. Mar. 28, 2019); E.J. v. United States, 13-CV-

01923 NC, 2014 WL 988893, at *1 (N.D. Cal. Mar. 10, 2014).

    In this case, at every level of the chain of command, mandatory regulations

required review of the file for the failure to collect and submit fingerprints and

final dispositions to the FBI, either directly or through the DoD. The failure to

do so was a failure to supervise.

1. Unit Leadership

    The Government stipulated that on at least 15 separate occasions, regula-

tions required supervisors to review the file and take supervisory action to cor-

rect the failure to collect and submit Kelley’s fingerprints and criminal history




   is applicable. The precautions to be exercised in permitting the withdrawal of fire-
   arms and ammunition are so fully prescribed by the Regulation and instructions
   that it is not necessary to resort to state law.” 356 F.2d at 99.




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to the FBI. 141 Air Force policy forms the basis of this stipulation—it required

Detachment 225 unit leadership 142 to conduct monthly reviews of the case file.

      Unit leadership must conduct monthly periodic reviews—a “fundamental

aspect of the investigative process”—for “sufficiency of investigative effort and

compliance with established policy.” 143 They also must ensure that agents

properly document their case activities and that the physical and electronic file

are complete. 144 They have a monthly obligation to review the cases from the

date of the allegation or complaint until the case is closed. 145 In this case, the

Air Force received the complaint on Kelley by at least June 9, 2011. 146 Eight-
een months later, on December 14, 2012, the Kelley file was submitted and ap-

proved for closure. 147 When reviewing these files, unit leadership should use

the Investigative Sufficiency Checklist as a guide for reviews. 148 Items 22–23

on that checklist specifically ask unit leadership whether fingerprints and fi-

nal dispositions were collected and submitted. 149 The regulations require unit

leadership to ensure that subordinates “obtain and validate subject’s finger-

prints; … [and] submit subject’s fingerprints [and] dispositions to the FBI…” 150

When reviewing submissions, unit leadership should also document that those


141   Dkt. No. 149 ¶ 7 (stipulations).
142   AF defined “unit leadership” to include the commander, special agent in charge,
      and director of a unit. Exh. U–2, AFOSI Manual 71-121, at 1 (USA418).
143   Exh. U–2, AFOSI Manual 71-121, at 7 ¶ 4.24, 4.24.1.3 (USA467); see also Exh. A,
      Dep. Col. Poorman, at 164:19–165:8 (Air Force representative testifies that the re-
      views are a supervisory obligation of unit leadership).
144   Exh. U–2, at 2 ¶ 1.3 (USA426).
145   Id. at 9–10 ¶ 4.24.1.3 (USA467–68).
146   Exh. U–17, at 14 (USA13404).
147   Id. at 1–2 (USA12913–14) (electronic audit).
148   Exh. U–2, AFOSI Manual 71-121, at 8 (USA468) (mandatory regulation); Exh. U–
      1, at 3–7 (USA575–79) (investigative checklist).
149   Exh. U–1, at 4 (USA576).
150   Exh. U–2, AFOSI Manual 71-121, at 10 ¶ 5.14.1 (USA491).




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reviews were complete. 151 Notably, however, unit leadership receives no train-

ing on how to conduct case reviews. 152

      Worse, since at least 2010, the Air Force knew that Detachment 225 had

consistently failed to conduct case file reviews. At that time, the Air Force In-

spector General had conducted a review of Region 2 and had provided a report

to the Region 2 commander and to the AFOSI Commander. 153 In this docu-

ment, the IG notified the chain of command that monthly case file reviews

were not being conducted and documented appropriately. 154 On this issue, the

Air Force representative testified that the Region 2 Commander and the

AFOSI Commander were both told that Detachment 225 was not performing a

fundamental aspect of the investigative process. 155 But the Air Force repre-
sentative could not identify what, if anything, had been done in response to

this finding. 156

      Next, when closing the file, unit leadership needed to review the file using

a checklist mandated by regulations. 157 But Kelley’s closed-case checklist had

many unchecked boxes, including those concerning the fingerprint cards and

final dispositions. 158 To make matters worse, the Unit Commander, Randall

Taylor, certified that fingerprints and final dispositions were sent to the FBI,




151   Id. at 11 ¶ 5.14.1.2 (USA492).
152   Exh. A, Dep. Col. Poorman, at 165:25–166:3, 168:20–25 (AFOSI 30(b)(6) Rep.).
153   Exh. A, Dep. Col. Poorman, at 146:7–19 (confirming receipt).
154   Exh. U–19, at 18, 20–21 (USA25145, USA25147–148); Exh. A, Dep. Col. Poorman,
      at 153:16–20, 158:10–24.
155   Exh. A, Dep. Col. Poorman, at 158:10–17.
156   Id. at 158:19–24.
157   Exh. U–2, AFOSI Manual 71-121, at USA450 (instruction); Exh. U–1, at 1–2
      (USA567–68) (regulation provided checklist).
158   Exh. U–17, at 12–13 (USA13395–96).




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when they were actually never sent. 159 Taylor testified that his practice was to

ask the case agent whether they had submitted this information. 160 So either

the case agent lied to Mr. Taylor, or Mr. Taylor didn’t follow his usual practice;

either way, Mr. Taylor falsely certified that the fingerprints and final disposi-

tions had been sent.

      The failure of unit supervision in this case leads directly back to the Air

Force’s failure in training. Mr. Taylor testified that he received more training

on the applicable regulations in preparation for his deposition than he

ever received on how to supervise case files. 161 Mr. Taylor’s failure to conduct
file reviews and his false certification of FBI submission flow directly from the

Air Force’s failure to train him on his job duties. 162 And he testified that, if he

had received proper training, he would have submitted the fingerprints and fi-

nal disposition forms. 163

2. Staff Judge Advocates Office

      The Staff Judge Advocates’ office had mandatory supervisory responsibili-

ties over the agents investigating their cases. Not only was the Staff Judge Ad-

vocates’ office supposed to submit criminal history, 164 but regulations required

them to coordinate with the case agent in subject interviews. 165 In fact, case

agents were required not only to consult the SJA but also to document that


159   Id. at 1–2 (USA12913–14) (electronic audit); Exh. B, Dep. Agent Taylor, at 115:4-
      14, 18–24.
160   Exh. B, Dep. Agent Taylor, at 116:21–117:5.
161   Id. at 29:21–30:3.
162   Id. at 25:17–20.
163   Id. at 49:2–7, 30:18–31:4.
164   See supra notes 84–89 & accompanying text (requiring DIBRS submission).
165   Exh. U–3, Air Force Instruction 51-201, at 21–22 ¶ 13.29 (USA11733, USA11989),
      26 (USA18273), 27 ¶ 13.26–27 (USA18520) (same instruction, but from 2007).




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consultation. 166 And when they coordinate, they must discuss the sufficiency of

the investigation. 167 Col. Tullos, the Staff Judge Advocate at Holloman, testi-

fied that they did have weekly meetings where they discussed cases, but he did

not recall any conversations about probable cause or the reporting of finger-

prints. 168 In the Kelley investigation, there should have been approximately 70

meetings with the Judge Advocate’s office. 169 Agent Mills testified that these

were 70 missed opportunities to identify whether fingerprints had been col-

lected, maintained, and submitted to the FBI. 170

3. Second Field Investigations Region

      Moving up the chain of command, the Second Field Investigations Region

has supervisory responsibility over Holloman Detachment 225. 171 Region 2

likewise failed to meet its mandatory supervisory obligations in many ways.

      First, Air Force regulations required Region 2 to perform case reviews of

the Kelley investigation for compliance with established policy. 172 When a Re-

gion 2 Desk Officer performs case reviews on a file, the regulations set checks



166   Exh. A, Dep. Col. Poorman, at 123:4–12; Exh. U–2, AFOSI Manual, at 2 ¶ 1.5.3
      (USA426) (mandatory requirement to participate in case review meetings),
      3 ¶ 1.5.5 (USA427) (requirement to document meetings).
167   Exh. G, Dep. Agent Mills, at 77:14–17; 79:5–15; see also Exh. U–2, AFOSI Man 71-
      121, at 7–8 ¶ 4.24.4 (USA467–68) (“Use the AFOSI Investigative Sufficiency
      Checklist (Attachment 7) … as a guide for reviews.”); Exh. U–1, at 3–7 (USA575–
      USA579) (Attachment 7, sufficiency checklist requiring inquiry into the status of
      fingerprints & final dispositions).
168   Exh. D, Dep. Col. Tullos, at 72:7–20, 89:7–18, 90:2–4; Exh. G, Dep. Agent Mills, at
      72:15–22 (Agent testified that he did not recall those discussions either).
169   Exh. G, Dep. Agent Mills, at 74:5–13, 75:9–19.
170   Id. at 75:20–76:2, 76:10–14.
171   Exh. P, Dep. Albright, at 35:16–36:21.
172   Exh. U–2, AFOSI Man 71-121, at 8 ¶ 4.25 (USA468) (requiring case reviews of
      “significant investigations,” which “affect the AF’s ability to preserve good order
      and discipline, deter and neutralize internal and external threats, and bring unfa-




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that were not performed in the Kelley investigation. For example, they must

use the “Region Case Review Checklist.” The regulations state that the Region

Case Review Checklist is “more comprehensive” than the checklist used by

agents and unit leadership. 173 The checklist is mandatory. 174 It requires re-

viewers to ensure that the cases they review are in compliance with current

Air Force policy. 175 And “compliance with policy,” on the Region Case Review

Checklist, includes compliance with collection and submission of fingerprints

and final dispositions to the FBI. 176 This means ensuring that agents are fol-

lowing the regulations in AFOSI Manual 71-121. 177 When a reviewer discovers
that fingerprint cards or final dispositions have not been submitted, he should

notify the special agent’s chain of command, who has the supervisory responsi-

bility to correct those problems. 178

      In this case, the Region 2 case reviewer checked the Kelley file multiple

times. 179 Every time he logged into the electronic file, he would see that Kelley

was charged with an assault on a minor child—the same charge on Kelley’s

unsubmitted fingerprint cards. 180 But the reviewer failed to check whether

      vorable attention to the command.”); Exh. D, Dep. Col. Tullos, at 140:8–10 (Hollo-
      man SJA’s testimony that the Kelley investigation was a “significant investiga-
      tion”); Exh. I, Dep. Officer Veltri, at 56:4–8, 56:15–19, 58:8–13, 58:17–23 (Region 2
      Case Reviewer’s testimony that if the Kelley investigation were conducted poorly
      it could affect the AF’s ability to preserve good order and discipline, deter internal
      threats, and bring unfavorable attention—as it did—to command).
173   See Exh. U–2, AFOSI Manual 71-121, at 8 ¶ 4.24.4 (USA468); Exh. U–1, at 3–7
      (USA575–USA579) (Attachment 7, the referenced checklist in ¶ 4.24.4).
174   Exh. A, Dep. Col. Poorman, at 117:24–118:3 (AFOSI 30(b)(6) Rep.).
175   Id. at 119:7–12; Exh. I, Dep. Officer Veltri, at 21:6–8 (Region 2 Desk Officer should
      review case files for investigative sufficiency).
176   Exh. A, Dep. Col. Poorman, at 121:10–122:1.
177   Exh. I, Dep. Officer Veltri, at 29:16–24, 46:16–22, 48:25–49:4, 97:22–25.
178   Id. at 30:19–24, 34:11–19, 31:11–18.
179   E.g., Exh. I, Dep. Officer Veltri, at 102:4–15 (March 6, 2012); 102:24–103:6 (May 9,
      2012); 103:8–19 (June 7, 2012); 103:20–104:6 (Aug. 9, 2012).
180   Id. at 104:9–21.




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Kelley’s fingerprints and final disposition forms were ever submitted to the

FBI. 181 The Region 2 reviewer also had physical access to the Kelley file. 182 By

the time he visited Detachment 225, he would have seen two copies of the fin-

gerprint cards. 183 Because one card should be sent to the FBI and a second

kept in the file, he testified that, if he had seen two cards, he would have had

the responsibility to report that failure. 184 But he never did.

      Tragically, the explanation for this breakdown lies with Veltri’s supervi-

sor—Region 2 Commander, Col. Hudson. How could so much inattention be

paid to Kelley’s fingerprint and conviction submission from the ground level

investigators all the way up to the Region 2 Command level? Because Region

Command didn’t even know reporting was required, much less that it was a

20-plus year problem in the Air Force. Col. Hudson testified that the first

time he learned that fingerprints and felony convictions must be reported to

the FBI was after the Sutherland Springs shooting. 185 What’s more, he testi-
fied that while he was Region 2 Commander (which was during the Kelley in-

vestigation and thereafter), he “never provided any specific supervisory over-

sight or training…to correct the errors in fingerprint collection, processing,

submitting and conviction reporting to the FBI.” 186




181   Id. at 71:4–9 (using the electronic system, he would see if fingerprints or final dis-
      positions had been submitted to the FBI).
182   Id. at 79:9–12 (performed visit to Detachment 225); 40:25–41:5 (had physical ac-
      cess to the file anytime if he wanted).
183   See Exh. U–17, at 5–10 (USA12953–58) (Kelley’s fingerprint cards dated before
      the visit).
184   Exh. I, Dep. Officer Veltri, at 84:20–85:10.
185   Exh. J, Dep. Col. Hudson, at 240:21–241:4.
186   Id. at 241:6–242:3.




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4. Headquarters Air Force Office of Special Investigations

      Finally, Headquarters also needed to perform systematic reviews of ar-

chived case files to identify investigative deficiencies. 187 During inspections,

Headquarters inspectors must examine files for compliance with policy. 188

They do this by using the closed-case checklist (which requires checking finger-

prints and final disposition submissions). 189 The policies require this review for

two reasons. First, Headquarters must also collect, compile, and report to the

DIBRS, and index criminals into the NCIC. 190 Second, Headquarters must cor-

rect deficiencies by improving training, clarifying instructions or manuals, and

changing procedural processes. 191
      After closure, the Air Force sent Kelley’s file to Headquarters for archiv-

ing. 192 But there is no evidence that Headquarters performed these reviews—

and if they did, they failed to identify the systemic deficiencies related to sub-

mitting fingerprint cards and final dispositions to the FBI. 193

      All of the above (parts 1−4) presents overwhelming evidence of the Govern-

ment’s failure to supervise. The Court should therefore rule as a matter of law

that the Government was negligent on this ground.




187   Exh. U–2, AFOSI Manual 71-121, at USA469 ¶ 4.25.2; see also USA12913–14
      (Holloman submitted the Kelley file to Archive on April 4, 2013 after confirming
      that fingerprints and final disposition had been sent to the FBI). HQ AFOSI is
      above the Region 2 in the Chain of Command and has supervisory responsibility
      over Region 2. Dep. Veltri, at 59:24–60:9, 60:25–61:4, 62:20–63:2.
188   Exh. U–2, AFOSI Manual 71-121, at 9 ¶ 4.25.3 (USA469).
189   Id. at ¶ 4.25.2; see also Exh. U–1, at 1–2 (USA567, USA568).
190   Exh. U–2, AFOSI Manual 71-121, at 6 ¶ 3.2.3.1.1 (USA436).
191   Id. at 9 ¶ 4.25.2 (USA469). The NCIC is searched by the FBI’s NICS firearms
      check. Exh. C, Dep. Del Greco, at 57:11–15 (FBI 30(b)(6) Rep.).
192   Exh. A, Dep. Col. Poorman, at 76:9–20 (AFOSI 30(b)(6) Rep).
193   See Exh. I, Dep. Officer Veltri, at 63:22–64:10.


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                               FAILURE TO TRAIN

      To establish a claim for negligent training, a plaintiff must prove that a

reasonably prudent employer would have provided training beyond that which

was given, and the failure to do so caused his injuries. Mendoza v. PGT Truck-

ing, Inc., No. 1:18-CV-432-LY-ML, 2020 WL 1902562, at *3 (W.D. Tex. Jan. 27,

2020). Where mandatory regulations require training, and the Air Force fails

to train its agents to collect and submit fingerprints and final dispositions, the

Air Force has breached its obligation to train its employees. Generally, the

purpose of Air Force training is to ensure that each individual is prepared to

meet mission requirements. 194 And one of the Air Force’s mission requirements
is the collection and submission of fingerprints and final disposition data. 195

      Starting with the Government’s Rule 30(b)(6) representatives, multiple

witnesses testified that, when the Air Force issues mandatory instructions,

they have an obligation to train the individuals to whom those instructions ap-

ply on the substance of those instructions. 196 This is because the Air Force is-

sued mandatory Instruction 36-2201, setting forth requirements for its train-

ing programs. 197 This instruction incorporates the Career Field Education and

Training Plan, which sets forth the minimum training requirements for each




194   Exh. A, Dep. Col. Poorman, at 181:11–19 (AFOSI 30(b)(6) Rep.).
195   Id. at 20–23.
196   E.g., Exh. A, Dep. Col. Poorman, at 90:6–10 (AFOSI 30(b)(6) Rep. on training);
      Exh. F, Dep. Col. Owen, at 97:16–22 (Air Force 30(b)(6) Rep.); Exh. E, Dep. Ver-
      dego, at 110:11–22 (DoD 30(b)(6) Rep.); Exh. D, Dep. Col. Tullos, at 143:2–11 (Hol-
      loman SJA); Exh. B, Dep. Agent Taylor, at 18:1–5 (Commander of Detachment
      225); Exh. G, Dep. Agent Mills, at 32:12–16 (Special Agent at Detachment 225).
197   Exh. U–3, at 23–25 (USA12993–95); see also Exh. A, Dep. Col. Poorman, at
      180:14–181:2 (AFOSI 30(b)(6) Rep. on training).




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career field—such as Special Investigations or Security Forces. 198 This docu-

ment includes a Specialty Training Standard, which specifies the training re-

quirements mandated by the Air Force. 199

1. Holloman Office of Special Investigations

      Since 2000, submitting criminal history to the NCIC and FBI has been a

core training task for the Air Force Special Investigations Specialty Training

Standard. 200 Before a student can graduate formal training, he must be able to

determine step-by-step procedures for submitting criminal histories to the

NCIC/FBI. 201 If a student graduates the formal training without that
knowledge, it’s considered a failure in training. 202 After graduating, agents

take on a probationary role within their units for a minimum of 15 months. 203

During this probationary period, the Air Force assigns a supervisor to provide

additional training. 204 Not only must the supervisor train, but the supervisor

serves as a safety net, to catch mistakes in the collection and submission of fin-

gerprints to the FBI. 205 And only when the supervisor certifies the probation-

ary agent as “competent” to collect and submit fingerprints and criminal his-

tory, should the supervisor certify the probationary agent. 206 In sum, if an

agent finishes probation but is unable to competently submit fingerprints and

criminal history to the FBI, it’s either a problem with the student’s retention


198   Exh. A, Dep. Col. Poorman, at 182:10–183:6.
199   Id. at 187:18–188:3.
200   Id. at 188:6–189:21.
201   Id. at 191:22–192:2.
202   Id. at 192:3–9.
203   Id. at 193:16–194:9.
204   Id. at 194:15–18, 231:25–232:3.
205   Id. at 232:4–9.
206   Id. at 207:3–8, 241:4–7 (required to keep a record of certification).




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or a problem with the training. 207 But if the Air Force certifies a student as

competent when they are not, that’s considered a failure in training. 208

      The Holloman Office of Special Investigations had training problems.

First, the Air Force representative on training agents could not provide or

identify the certification records of any of the agents involved in Kelley’s inves-

tigation. 209 In fact, he could not say what training, if any, those individuals in-

volved in the Kelley investigation had received on collecting and submitting

fingerprints and final dispositions, during their probationary period. 210 So the

Court is left to piece together the training from the evidence, and there’s no ev-

idence that the agents investigating Kelley ever received the required training.
      Special Agent in Charge Randall Taylor. By the time Randall Taylor

becomes SAIC (a supervisory and training role), he should have received train-

ing to be competently able to submit criminal history and final dispositions to

the FBI. 211 Yet Mr. Taylor testified that he remembers receiving no specific

training on when to submit fingerprints of felons. 212 In fact, he learned that

agents are supposed to submit fingerprints only after the Inspector General’s

investigation into the Sutherland Springs shooting. 213 And he testified that he

received more training on the regulations from the lawyers who prepared him

for deposition, than he ever received while in the Air Force. 214 Importantly,

207   Id. at 207:22–208:4.
208   Id. at 208:9–13.
209   Id. at 241:8–18, 247:13–16.
210   Id. at 247:17–248:5.
211   Exh. A, Dep. Col. Poorman, at 215:21–25. SAIC and Commander are used inter-
      changeably. Exh. P, Dep. Albright, at 28:9–29:13. Special agents report to the su-
      perintendent and then to the Commander or SAIC. Id.; see also Exh. A, Dep. Col.
      Poorman, at 217:25–218:4.
212   Exh. B, Dep. Agent Taylor, at 28:4–17.
213   Id. at 28:13–17.
214   Id. at 29:21–30:3.




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the Air Force representative also testified that the Air Force had no testimony

or evidence to contradict Mr. Taylor’s account. 215 And Mr. Taylor testified that,

had the Air Force given him the appropriate training, he would have ensured

that Kelley’s fingerprints and final disposition were submitted to the FBI. 216

      Superintendent Lyle Bankhead. Mr. Bankhead arrived at Detachment

225 in June of 2011, straight from training—meaning he was a probationary

agent in need of supervision. 217 The earliest he could have graduated from pro-

bationary status was August 2012, even if he had not been away that summer

for pre-deployment training. 218 But in August 2012, the Air Force promoted
Mr. Bankhead to superintendent—with supervisory responsibility over other

agents. 219 While he was a probationary agent, the Air Force should have

trained him to competently submit fingerprints and final dispositions to the

FBI. 220 But Mr. Bankhead told the Inspector General that he received no such

training. 221 This lines up with Mr. Taylor’s (his Commander’s) testimony that

Holloman did not provide its agents any probationary training related to fin-

gerprints. 222 And again, the Air Force testified, through its representative on

training, that it had no evidence to contradict Mr. Taylor’s or Mr. Bankhead’s

testimony that they received no training on submitting fingerprints or final

dispositions to the FBI. 223



215   Exh. A, Dep. Col. Poorman, at 216:8–25; see also id. at 220:10–23 (the only two pos-
      sibilities are a failure in training or a failure in retention).
216   Exh. B, Dep. Agent Taylor, at 30:18–25, 31:1–4, 49:2–7.
217   Exh. A, Dep. Col. Poorman, at 231:21–24, 233:10–13.
218   Id. at 233:18–22, 234:13–18.
219   Id. at 41:5–15.
220   Id. at 234:23–235:7.
221   Exh. U–19, at 2 (USA15919).
222   Exh. B, Dep. Agent Taylor, at 39:25–40:9.
223   Exh. A, Dep. Col. Poorman, at 239:4–12.




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      Agent Yonatan Holz. Mr. Holz was the “primary agent” on the Kelley in-

vestigation. 224 Like Mr. Bankhead, Mr. Holz joined Holloman as a probation-

ary agent, fresh out of training. 225 By the time Mr. Holz finished his probation-

ary status at Holloman—by August 2011—he should have been able to compe-

tently submit fingerprints and final dispositions to the FBI. 226 Yet Mr. Holz

testified that the Air Force never trained him on how and when to submit fin-

gerprints to the FBI before the Kelley investigation. 227 As a result, the Air

Force, through its 30(b)(6) representative on training, admitted that this was a

failure in training. 228 And the Air Force had no evidence to contradict Mr.
Holz’ testimony that he had received no training. 229

2. Holloman Security Forces

      As with Special Investigations, the evidence shows that the Air Force

failed to train its Security Forces employees to collect and submit criminal his-

tory. By design, Air Force Security Forces training does not include training

on collecting and submitting fingerprints or final dispositions to the FBI. 230 In-

stead, as the Government’s representative testified, the “buck stops” with the

Commander of 49th Security Forces on training. 231

      That’s a problem for Holloman because the Commander knew very little

about criminal history submission. For example, he believed that fingerprint


224   Exh. M, Dep. Agent Holz, at 22:14–19; Exh. G, Dep. Agent Mills, at 34:4–12.
225   Exh. M, Dep. Agent Holz, at 14:19–15:10; Exh. A, Dep. Col. Poorman, at 242:18–
      22, 242:23–243:1.
226   Exh. A, Dep. Col. Poorman, at 243:17–22.
227   Exh. M, Dep. Agent Holz, at 31:13–21; Exh. A, Dep. Col. Poorman, at 244:10–21.
228   Exh. A, Dep. Col. Poorman, at 245:25–246:10.
229   Id. at 246:15–20.
230   Exh. H, Dep. Col. Ford, at 246:25–247:7 (Air Force 30(b)(6) Rep. on training).
231   Id. at 200:6–22.




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data does not go through Security Forces. 232 It does. 233 He believed that Secu-

rity Forces do not determine probable cause during the course of investiga-

tions. 234 They do. 235 And he believed that Security Forces did not have a re-

sponsibility to submit information to the FBI. 236 They definitely do. 237

      As a result, the agents working for Security Forces also lacked training

when handling the Kelley case. For example, Security Forces Agent Ryan Sa-

blan testified that the Air Force trained him to believe that he did not have to

submit fingerprints to the FBI, even if he had probable cause. 238 The Air

Force’s representative testified that either this was a failure of training or an

error on Mr. Sablan’s part. 239 Agent Sablan also testified that his training did
not teach him where to send fingerprints, either. 240 In contrast, the Air Force’s

Security Forces training representative testified that agents should have been

trained on this point by the 49th Security Forces Commander. 241

      All of the above (parts 1−2) presents overwhelming evidence of the Govern-

ment’s failure to train. The Court should therefore rule as a matter of law that

the Government was negligent on this ground.




232   Exh. U–19, at 6 (USA21794).
233   Exh. U–3, AF Instruction 31-206, at 6 ¶ 2.24 (USA3981), 7 (USA4010–19) (policy
      and instructions on how Security Forces should submit this information).
234   Exh. U–19, at 8 (USA21796).
235   Exh. U–6, DoD Instruction 5505.11, at 25 (USA1815).
236   Exh. U–19, at 9 (USA21810).
237   Exh. U–3, AF Instruction 31-206, at 5 ¶ 2.14 (USA3976) (reporting electronically
      to DIBRS at DoD), 6 ¶ 2.24 (USA3981) (requiring the submission fingerprint cards
      and final dispositions to the FBI by security forces); see also Exh. H, Dep. Col.
      Ford, at 245:5–11 (Air Force 30(b)(6) Training Rep. testifying that Boyd got these
      facts wrong).
238   Exh. R, Dep. Agent Sablan, at 99:9–15 (30(b)(6) Rep. on Security Forces training).
239   Exh. H, Dep. Col. Ford, at 190:3–16, 192:3–17.
240   Exh. R, Dep. Agent Sablan, at 106:16–23.
241   Exh. H, Dep. Col. Ford, at 190:18–25.


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                               CONCLUSION

    The evidence overwhelmingly shows that the Air Force and the DoD negli-

gently undertook obligations that they failed to perform. And the Govern-

ment’s failures are directly traceable to the Government’s negligence in super-

vising and training its employees. Given the evidence presented, the Court

should grant summary judgment and hold that the Government is liable in

each of Plaintiffs’ negligence-based causes of action.




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Respectfully Submitted,

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           APPENDIX 1: GOVERNMENT ACRONYMS


ACRONYM                 MEANING


2FIR                    Second Field Investigations Region
                        Also known as Region 2.


AFOSI                   Air Force Office of Special Investigations


DIBRS                   Defense Incident Based Reporting System


FFL                     Federal Firearms Licensee


I2MS                    Investigative Information Management System
                        The electronic criminal investigation case file.


JA                      Judge Advocate


NCIC                    National Crime Information Center
                        One of the three databases searched by the NICS before
                        firearms transfer.


NICS                    National Instant Criminal Background Check
                        System


SAIC                    Special Agent in Charge
                        Also referred to as the Commander of the Unit


SJA                     Staff Judge Advocate




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            APPENDIX 2: GOVERNMENT WITNESSES

Government Rule 30(b)(6) Representatives

    Kimberly Del Greco currently serves as Deputy Assistant Director over-

seeing the NICS Section, the Biometrics section, and the IT component of the

FBI CJIS. Exh. C, Dep. Del Greco, at 14:13–15:5. She represents the FBI. Id.

at 13:6–12; 24:21–25:11; Exhibit 1 (notice of deposition).

    Col. Robert M. Ford Jr. represents the Air Force security forces on top-

ics related to training and the Air Force response to Inspector General recom-

mendations from 1997-2017. Exh. H, Dep. Col. Ford, at 48:19–50:13.

    Col. John Owen is a JAG attorney and current chief of the Military Ser-

vices Division of the Air Force. Exh. F, Dep. Col. Owen, at 6:10–15. He repre-

sented the Staff Judge Advocates’ office. Id. at 10:2–11; 27:8–17; Exhibit 1 (no-

tice of deposition).

    Col. Kevin Poorman is a civilian employee of the Air Force and a repre-

sentative of the Air Force Office of Special Investigations on topics related to

training and the Air Force response to Inspector General recommendations

from 1997-2017. Exh. A, Dep. Col. Poorman, at 14:5–15:11; 84:18–86:3; Exhib-

its 1–2 (notice of depositions).

    Special Agent Robert Spencer is the representative for the Air Force in

dealing with the FBI when it comes to criminal indexing. Exh. T, Dep. Spen-

cer, at 7:6–19; 17:10–18:7; Exhibit 1 (notice of deposition).

    Shelley Ann Verdego is a DoD Representative testifying on information

related to the DoD reporting information into the NICS through the DIBRS

database. Exh. E, Dep. Verdego, at 16:4–18:7; Exhibit 1 (notice of deposition).




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Second Field Investigations Region

    Hudson, Col. James was the commander of the Second Field Investigations

Region during the Kelley investigation. Exh. J, Dep. Col. Hudson, at 29:5–10.

    Albright, Jacqueline was Deputy Director of Region 2 from June 2007 to

June 2013. Exh. P, Dep. Albright, at 12:21–13:6.

    Veltri, Mathew was a Region 2 desk officer from 2010 to approximately

2015. Exh. I, Dep. Officer Veltri, at 18:2–13.

Holloman Air Force Base
    Col. Owen Tullos served as the Staff Judge Advocate at Holloman through

the investigation and conviction of Devin Kelley. Exh. D, Dep. Col. Tullos, at

33:13–22.

    Randall Taylor was the Special Agent in Charge (aka Commander) of De-

tachment 225 (AFOSI) from December 2011 through the Kelley investigation.

Exh. B, Dep. Agent Taylor, at 8:4-9, 16:13–16.

    Vince Bustillo was the Special Agent in Charge of Detachment 225

(AFOSI), retiring in July 2011. Exh. Q, Dep. Agent Bustillo, at 48:15–20.

    Lyle Bankhead was a probationary agent with Detachment 225 from

May/June 2011 but promoted to superintendent in August of 2012. Exh. O,

Dep. Agent Bankhead, at 28:1–7, 41:5–15.

    Yonatan Holz was a special agent responsible for investigating the Kelley

case at Detachment 225. Exh. M, Dep. Agent Holz, at 13:3–6, 22:14–19.

    James Hoy was superintendent before Mr. Bankhead at Detachment 225

in 2011. See Defendant’s Supplemental Disclosures, at 2 (July 28, 2020).

    Clinton Mills served as an AFOSI special agent in 2011 during the Kelley

investigation, first arriving at Holloman in 2010 straight from training to be-

come a special agent. Exh. G, Dep. Agent Mills, at 19–20.




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      Col. Robert Bearden served as the Commander of the 49th Logistics Readi-

ness Squadron from June 2012 to June 2014, including during Kelley’s dis-

charge from the Air Force following his criminal confinement. Exh. K, Dep.

Col. Bearden, at 19:23–20:7.

      Maj. Nathan McLeod-Hughes served as the Director of Operations for the

49th Logistics readiness Squadron. Exh. L, Dep. Maj. McLeod-Hughes, at

24:17–25:4.

      Tech Sergeant Ryan Sablan was a field investigator in the Holloman Secu-
rity Forces from 2009 to 2014. Exh. R, Dep. Agent Sablan, at 22:13–18, 31:12–

19.




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APPENDIX 3: GOVERNMENT ORGANIZATIONAL CHART




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 APPENDIX 4: DET. 225 ORGANIZATIONAL CHART




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                     CERTIFICATE OF SERVICE

    By our signatures above, we certify that a copy of Plaintiffs’ Motion for

Partial Summary Judgment has been sent to the following on August 21, 2020

via the Court’s CM/ECF notice system, and electronic service to their respec-

tive emails.

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    STEPHEN E. HANDLER

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